Case: 1:14-cv-01456 Document #: 123-1 Filed: 09/25/14 Page 1 of 24 PageID #:963




                       EXHIBIT A
     Case: 1:14-cv-01456 Document #: 123-1 Filed: 09/25/14 Page 2 of 24 PageID #:964




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 May 1, 2014

 Via E-Mail

 Walker R. Lawrence
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 205 N. Michigan Ave., Suite 2050
 Chicago, IL 60601

 Re:       Tinoco et al. v. Illinois Bell Tele. Co. d/b/a AT&T Illinois, No. 1:14-cv-1456 (N.D. Ill.);
           Anderson et al. v. Illinois Bell Tele. Co. d/b/a AT&T Illinois, No. 1:14-cv-04025 (C.D. Ill.);
           Denny et al. v. Illinois Bell Tele. Co. d/b/a AT&T Illinois, No. 2:14-cv-02035 (C.D. Ill.);
           Ferguson v. Illinois Bell Tele. Co. d/b/a AT&T Illinois, No. 3:14-cv-00297 (S.D. Ill.)

 Dear Counsel:

 This letter concerns the four lawsuits captioned above that you have filed against Illinois Bell.
 As you know, we represent Illinois Bell in Blakes v. Illinois Bell Telephone Co., No. 11-cv-336,
 also pending in the Northern District. We learned of these lawsuits through our own diligence,
 as you have neither served Illinois Bell in any of these actions nor contacted us to determine
 whether we would be handling them.1 Although we are under no obligation to do so, we write to
 inform you that Illinois Bell believes the filing of these lawsuits violates Federal Rule of Civil
 Procedure 11 and should be withdrawn. If you refuse to do so, we intend to move forward with a
 formal Rule 11 motion and would seek our client’s attorneys’ fees and costs for having to
 respond to these lawsuits. Because Illinois Bell has not yet been served, you may resolve these
 issues quickly, sparing both our client and the court the unnecessary burden of addressing the
 issues described below. Indeed, it appears that the Tinoco court has scheduled an initial
 conference on May 7, 2014, and ordered a status report by May 2, 2014. (Tinoco, Dkt. 10.) We

 1
   Nothing in this letter should be construed as a waiver of Illinois Bell’s objections to plaintiffs’ lack of service in
 any of the above-captioned lawsuits. We discovered these lawsuits through regular monitoring for potential
 litigation against our client. Illinois Bell thus expressly reserves all such objections.



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Case: 1:14-cv-01456 Document #: 123-1 Filed: 09/25/14 Page 3 of 24 PageID #:965




May 1, 2014
Page 2

have informed the court in writing that Illinois Bell has not been served (a copy of this letter is
attached), and we also ask that you advise the court immediately that the May 7, 2014 conference
should be canceled.

With respect to the Tinoco matter, it is obvious that this lawsuit is an attempt at an “end around”
Judge Kim’s decertification decision in Blakes. Moreover, a reasonable inquiry under the
circumstances here would have revealed that it is frivolous to assert that plaintiffs’ claims satisfy
Rule 20’s permissive joinder requirements. See Fed. R. Civ. P. 11(b)(2).

We understand that the Tinoco case is not pled as a putative collective or class action. But the
Tinoco case nonetheless aggregates the claims of 141 individual plaintiffs, who could only be
grouped in one proceeding for the same reasons the Blakes plaintiffs asserted, unsuccessfully,
that collective action certification was proper, i.e., that they were subjected to common policies
and that individualized issues would not overwhelm that proceeding. As you know, however,
Judge Kim’s decertification ruling in Blakes rejected theories for collective litigation that were
nearly identical to those raised in Tinoco, finding no basis for resolving plaintiffs’ claims
collectively. For example, Judge Kim rejected the very same MSOC-based “efficiency” theory
raised in the Tinoco amended complaint (see Dkt. 8 ¶¶ 156-166), concluding that “it would be
impossible to resolve” such questions on a collective basis (Blakes Order at 32), in part because
the claims are not based on “an illegal common policy” (id. at 29) and resolving them would
only result “in an overwhelming amount of individual inquiries” (id. at 27). Likewise, Judge
Kim rejected joint treatment of the same employee sub-groups as those alleged in Tinoco:
“[T]his court determines that the same individual variations that preclude collective treatment of
the class of opt-in cable splicers as a whole precludes a finding of the requisite degree of
similarity among opt-in plaintiffs in each sub-class.” (Id. at 46.) Judge Kim’s conclusions were
unequivocal: “there is no gain to be derived from the collective approach” (id. at 51 (emphasis
added)) with respect to the theories plaintiffs now assert in Tinoco.

We thus consider Tinoco an obvious attempt to circumvent the Blakes decertification order and
shop for another judge. In light of the Blakes order, the notion that the diverse individual claims
of 141 separate plaintiffs are properly joined in a single action pursuant to Rule 20 is frivolous.
As the Blakes order makes clear, it is unreasonable to assert that each Tinoco plaintiff’s claims
arise from the same transaction or occurrence, involve any question of law or fact common to all
plaintiffs, or that resolving all 141 plaintiffs’ unique claims collectively would somehow avoid
prejudice and delay, promote judicial economy, or further principles of fundamental fairness.
See Fed. R. Civ. P. 20(a).

Furthermore, even if we could somehow disregard the prior Blakes decertification decision, the
Tinoco amended complaint asserts allegations that a reasonable inquiry would reveal lack
evidentiary support for each of the individual named plaintiffs. Rule 11 provides that by
presenting a pleading to the court, you have certified to the best of your “knowledge,
information, and belief, formed after an inquiry reasonable under the circumstances,” that,
Case: 1:14-cv-01456 Document #: 123-1 Filed: 09/25/14 Page 4 of 24 PageID #:966




May 1, 2014
Page 3

among other things, the “factual contentions have evidentiary support.” Fed. R. Civ. P. 11(b)(3).
Each Tinoco plaintiff’s claims arise from different time periods, involve different locations,
implicate different managers, and invoke varying theories of recovery. Illinois Bell has a right to
know the allegations and claims specific to each individual plaintiff to adequately prepare its
defense, yet this information is impossible to discern from the amended complaint.

To the contrary, the amended complaint only describes each plaintiff’s date of employment, how
each is or was a “Cable Splicer for Illinois Bell,” and identifies “at least” some of the garages to
which each plaintiff was assigned. (Dkt. 8 ¶¶ 6-146.) It contains no additional individualized
information about each plaintiff – most notably which type of “Cable Splicer” each plaintiff was
during his or her employment, even though the amended complaint itself acknowledges that
there are at least three sub-groups of “Cable Splicers,” and “the particular jobs that are performed
by a particular type of Cable Splicer var[y].” (Id. ¶ 153.) As a result, the complaint contains
allegations that are not relevant to many plaintiffs and thus do not belong in one complaint. Such
scattershot pleading not only makes it impossible for Illinois Bell to discern which allegations
apply to which individuals, but it also sets forth certain factual allegations wholly devoid of
evidentiary support for certain plaintiffs.

You must know from Blakes that allegations in the Tinoco amended complaint are irrelevant or
inapplicable for many of the individual plaintiffs. For example, the Tinoco amended complaint
identifies only “copper and fiber cable splicers” as employees who “perform work in manholes.”
(Id. ¶ 177.) But even though the amended complaint also purports to apply to “DAVAR” and
“DEG” cable splicers (id. ¶¶ 181-190), it lists among the alleged “off-the-clock” work tasks such
as “[r]emain on the job site while eating to watch a manhole” and “watching the manhole to
ensure safety” (id. ¶¶ 198(c), 199). Twenty-five individuals were deposed in Blakes, including
18 opt-in plaintiffs – 11 of whom are now also named plaintiffs in Tinoco. As you know, even
among this limited sample, several individuals testified that they never (or very rarely) worked in
a manhole while working as a DAVAR or DEG technician. (See, e.g., Blakes Dep. at 214; Hunt
Dep. at 163; Haynes (also a plaintiff in Tinoco) Dep. at 10-11, 28; Blanchette (also a plaintiff in
Tinoco) Dep. at 11, 35; Sterk (also a plaintiff in Tinoco) Dep. at 13-15; Williams Dep. at 147.)
For example, William Sterk, a named plaintiff in Tinoco, testified in Blakes that he never worked
in a manhole as a DEG technician and did so sporadically to assist other technicians when
working in DAVAR. (Sterk Dep. at 14-15.) Consequently, many of the amended complaint’s
allegations do not apply – and are therefore frivolous and without evidentiary support – with
respect to any plaintiff who never worked at a manhole.

Other variations like this pervade the amended complaint, such as raising allegations regarding
MSOC in a case involving plaintiffs whose employment you know terminated before MSOC was
implemented in February 2010. You have the information you need to determine whether an
individual was subject to MSOC, both from Blakes and by simply discussing with your clients.
In fact, Illinois Bell’s records indicate that approximately 39 of the 141 Tinoco plaintiffs left
Illinois Bell before MSOC took effect. Thus, the numerous MSOC-related allegations are
    Case: 1:14-cv-01456 Document #: 123-1 Filed: 09/25/14 Page 5 of 24 PageID #:967




May 1, 2014
Page 4

irrelevant for these individuals. Likewise, allegations regarding computer timekeeping (see, e.g.,
Am. Compl. ¶¶ 192-196) are irrelevant and frivolous for any plaintiffs whose employment ended
before technicians began reporting their own time electronically in December 2009 (see, e.g.,
Chambers Dep. at 93 (only used paper timesheets while a cable splicer); Anderson (also a
plaintiff in Tinoco) Dep. at 185 (same)). In fact, this electronic timesheet claim is especially
inappropriate because each Tinoco plaintiff already has the same claim that remains certified in
Blakes.

Simply put, it is unreasonable and inappropriate to allege such general, “representative” facts
absent support that those facts apply to each individual plaintiff. Either you are representing to
the Court that all allegations apply to all individuals – which is impossible, as you are aware – or
you have not taken the time to determine the nature of each plaintiff’s claims, which falls short
of Rule 11’s requirements when filing a complaint. You have the information needed to
ascertain each plaintiff’s individual claims, and you must bring those actions separately with
particularized allegations that comply with the pleading requirements under the Federal Rules.

The other three cases (Anderson, Denny, and Ferguson) certainly involve fewer plaintiffs than
Tinoco, but the same deficiencies apply. Each complaint is little more than a “cut and paste”
exercise from the Tinoco allegations. For example, Illinois Bell’s records show that Michael
Woods (a plaintiff in the Denny case) terminated employment in August 2008; yet he is now part
of a case raising allegations about MSOC and electronic timekeeping, both of which were
implemented much later.2 Mr. Woods thus never experienced MSOC, and these allegations do
not belong in his lawsuit. Similarly, not only did Gary Crowder (another plaintiff in Denny) also
leave Illinois Bell in 2009 (and thus never experience MSOC), but he did not identify any
alleged pre-shift or post-shift work in his interrogatory responses in Blakes – and yet now alleges
a litany of alleged off-the-clock activities before and after his shift. Mr. Crowder’s allegations
lack factual support, but you are also on notice of admissions that directly contradict his new
claims. And Larry Ferguson is the only plaintiff in his case, yet his complaint asserts 80-plus
paragraphs that we seriously doubt apply specifically to him. Indeed, the Ferguson complaint –
despite having just one plaintiff – refers generically throughout to “Cable Splicers,” describes the
various categories of technicians, and never states the work Ferguson performed. Thus, as with
Tinoco, we cannot see how these complaints were filed after the requisite Rule 11 inquiries.
Even if you did not represent these plaintiffs in Blakes, it would be improvident to compile such
sweeping allegations into a single complaint. But your failure here is particularly egregious,
where you know that not all allegations apply to each plaintiff. Accordingly, you must re-file
each person’s claim individually and raise particularized allegations that provide Illinois Bell
sufficient notice to adequately defend each claim.

Further, with respect to all of these cases, we are concerned about the possible lack of full
disclosure to your clients concerning the ramifications of becoming an individual named plaintiff
2
 This also ignores, for the time being only, that the claims of some plaintiffs may be time-barred to the extent they
are not tolled by Blakes.
    Case: 1:14-cv-01456 Document #: 123-1 Filed: 09/25/14 Page 6 of 24 PageID #:968




May 1, 2014
Page 5

in this lawsuit (as opposed to a member of a class or collective action). As you are likely aware,
Rule 1.4 of the Illinois Rules of Professional Conduct requires that a lawyer shall, among other
things, “reasonably consult with the client about the means by which the client’s objectives are to
be accomplished”; “promptly inform the client of any decision or circumstance with respect to
which the client’s informed consent . . . is required by these Rules”3; and “explain a matter to the
extent reasonably necessary to permit the client to make informed decisions regarding the
representation.” Ill. Rule of Prof. Conduct 1.4(a)-(b). As the comments to Rule 1.4 make clear,
a “client should have sufficient information to participate intelligently in decisions concerning
the objectives of the representation and the means by which they are to be pursued.” Id. cmt. [5].

We believe that all of your clients may not have received “sufficient information” about the
nature of their participation as a named plaintiff. Each complaint includes a second round of
“FLSA Consent Forms” as exhibits. Yet none of these cases is styled as a collective action under
the FLSA. These new (and unnecessary) consent forms suggest to us that each Blakes opt-in
simply gave a veritable “power of attorney” for your firm to proceed as it saw fit. This
generalized authority further suggests that some or all of the individuals may not be aware of
these new lawsuits at all, their distinction from the collective action in Blakes, and the potential
consequences of proceeding as an individual plaintiff – including being potentially responsible
for Illinois Bell’s recovery of its fees and costs and being required to participate in discovery and
other aspects of litigation. Each plaintiff should be sufficiently informed to determine whether
he or she wishes to pursue claims in this manner.

We also question whether each named plaintiff genuinely understood before you filed suit that
they were stating in a public court filing that they “manipulate[d] the time records” used to
determine their pay. (See, e.g. Tinoco Am. Compl. ¶ 165.) This is a clear violation of Illinois
Bell’s policies, which require employees to record and receive pay for all the time they worked.
We trust that all of these individuals understand that this is an admission against their interests,
that they acknowledge violating the written policies of their employer, and that such a violation
ordinarily would subject them to potential discipline.

                                               *        *        *

As explained above, and without waiving any additional arguments regarding the propriety of
these complaints, we believe the filing of these four lawsuits is sanctionable under Rule 11. We
thus invite you to voluntarily dismiss these lawsuits, sparing all parties the time and expense of
resolving these various deficiencies. If you do not do so, we will have no choice but to move
forward with formal Rule 11 motions and seek our client’s attorneys’ fees and costs once Illinois
Bell is served with each of the four complaints. If your clients still wish to proceed with new
lawsuits, you must file suit for each plaintiff individually, after conducting the appropriate

3
  The Rules define “informed consent” to mean “the agreement by a person to a proposed course of conduct after the
lawyer has communicated adequate information and explanation about the material risks and reasonably available
alternatives to the proposed course of conduct.” Rule 1.0(e).
Case: 1:14-cv-01456 Document #: 123-1 Filed: 09/25/14 Page 7 of 24 PageID #:969




May 1, 2014
Page 6

diligence, pay the appropriate filing fee for each case, and include only the particularized
allegations that apply to that individual plaintiff. If the new filings do not cure the deficiencies
discussed above – including particularizing for each plaintiff the allegations applicable to each –
we likewise would be required to pursue a Rule 11 motion. Please respond promptly.

Sincerely,



/s George A. Stohner



George A. Stohner

GAS
Case: 1:14-cv-01456 Document #: 123-1 Filed: 09/25/14 Page 8 of 24 PageID #:970




                       EXHIBIT B
Case: 1:14-cv-01456 Document #: 123-1 Filed: 09/25/14 Page 9 of 24 PageID #:971
Case: 1:14-cv-01456 Document #: 123-1 Filed: 09/25/14 Page 10 of 24 PageID #:972
Case: 1:14-cv-01456 Document #: 123-1 Filed: 09/25/14 Page 11 of 24 PageID #:973
Case: 1:14-cv-01456 Document #: 123-1 Filed: 09/25/14 Page 12 of 24 PageID #:974




                        EXHIBIT C
Case: 1:14-cv-01456 Document #: 123-1 Filed: 09/25/14 Page 13 of 24 PageID #:975
Case: 1:14-cv-01456 Document #: 123-1 Filed: 09/25/14 Page 14 of 24 PageID #:976
Case: 1:14-cv-01456 Document #: 123-1 Filed: 09/25/14 Page 15 of 24 PageID #:977
Case: 1:14-cv-01456 Document #: 123-1 Filed: 09/25/14 Page 16 of 24 PageID #:978




                        EXHIBIT D
Case: 1:14-cv-01456 Document #: 123-1 Filed: 09/25/14 Page 17 of 24 PageID #:979
Case: 1:14-cv-01456 Document #: 123-1 Filed: 09/25/14 Page 18 of 24 PageID #:980
Case: 1:14-cv-01456 Document #: 123-1 Filed: 09/25/14 Page 19 of 24 PageID #:981
Case: 1:14-cv-01456 Document #: 123-1 Filed: 09/25/14 Page 20 of 24 PageID #:982




                        EXHIBIT E
Case: 1:14-cv-01456 Document #: 123-1 Filed: 09/25/14 Page 21 of 24 PageID #:983
Case: 1:14-cv-01456 Document #: 123-1 Filed: 09/25/14 Page 22 of 24 PageID #:984
Case: 1:14-cv-01456 Document #: 123-1 Filed: 09/25/14 Page 23 of 24 PageID #:985
Case: 1:14-cv-01456 Document #: 123-1 Filed: 09/25/14 Page 24 of 24 PageID #:986
